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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

IRA KLEIMAN, as personal representative of
the estate of David Kleiman, and W&K INFO
DEFENSE RESEARCH, LLC

       plaintiffs,

v.
                                                                          Case No. 9:18-cv-80176 (BB/BR)

CRAIG WRIGHT,

      defendant.
_____________________________________/

                     CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE

I, Andres Rivero, as counsel for the defendant, Dr. Craig Wright, hereby certify the following:

Check the applicable sections:

     ALL EXHIBITS E-FILED: All documentary exhibits and photographs of non-documentary physical
exhibits offered or introduced into evidence have been electronically filed in CM/ECF.

    EXHIBITS NOT E-FILED: The following is an itemized list of exhibits that are exempt from
mandatory electronic filing pursuant to Local Rule 5.3(b)(3):
_____________________________________________________________________________________
P434, P511, P512, and D173.
_____________________________________________________________________________________

Any original exhibits that have been returned to or retained by the filing party after electronic filing shall
be kept for safe keeping until the conclusion of any appeals. Upon order of court, the filing party agrees to
return the original exhibits to the Clerk of Court.

This Certificate shall be filed within ten (10) days of the conclusion of a hearing or trial. Failure to timely
comply with the requirements of Local Rule 5.3(b) may result in the imposition of sanctions.

Signature:     _____/s/Andres Rivero_________________________               Date:    _12/16/21__________
